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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

ARIAN DINAPOLI d/b/a )
ARI FAMILY DENTAL, )
Plaintiff, )
)

Vv. ) C.A. 1:18-cv-10776
)
YELP, INC., )
Defendant. )

 

MEMORANDUM SUPPORTING PLAINTIFF’S OPPOSITION TO DEFENDANT'S
SPECIAL MOTION TO STRIKE AND MOTION TO DISMISS AND FURTHER
SUPPORTING PLAINTIFF’S CROSS-MOTION TO STRIKE

The Court should deny Defendant’s Motion to Dismiss for Failure to State a Claim and
Special Motion to Strike (the “motion to dismiss”) because the same exceeds the permissible
scope of Fed. R. Civ. P. 12(b)(6) by alleging facts extraneous to the four corners of the
Complaint. Furthermore, Yelp did not comply with Local Rule 7.1 requiring parties to confer
and endeavor in good faith to narrow the issues in dispute prior to filing its first motion to
dismiss on April 30, 2018. See Memorandum Supporting Plaintiff's Opposition to Defendant's
Special Motion to Strike and Dismiss and Plaintiff's Cross-Motion to Strike, CM/ECF Dkt. No.

17-1 (05/14/2018) at 6 99 1-3.

STANDARD OF REVIEW
I. Fep.R. Civ. P. 8(A)(2):
The proper evaluation of any motion to dismiss for failure to state a claim pursuant to
Fed. R. Civ. P. 12(b)(6) requires the proper evaluation of the targeted Complaint pursuant to Fed.
R. Civ. P. 8(a)(2). SEE Higgins v. Town of Concord, 246 F.Supp. 3d 502, 510 (D. Mass. 2017) at
q 2. The Complaint “need only include a short and plain statement” placing defendant on notice

of plaintiff's claim(s) for relief. Jd., SEE ALSO Nasuti v. U.S. Secretary of State John Forbes
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Kerry, 137 F.Supp. 3d 132, 139 (D. Mass. 2016) (discussing liberal construction of notice
pleadings).

The First Circuit has interpreted Rule 12(b)(6) to require that

plaintiffs allege a factual predicate concrete enough to warrant

further proceedings.
Higgins, 246 F.Supp. 3d at 518 (D. Mass. 2017), QUOTING Buck v. American Airlines, Inc., 476
F.3d 29, 38 (1* Cir. 2007) (Internal Quotations Omitted).

“That is, ‘[flactual allegations must be enough to raise a right to relief above the
speculative level on the assumption that all the allegations in the Complaint are true (even if
doubtful in fact).’” Theophile v. Conklin, 2017 WL 3140363, *3 (D. Mass. 2017), SEE ALSO
Metropolitan Property and Casualty Insurance Company, et al. v. Savin Hill Chiropractic, Inc.,
et al., 322 F.R.D. 151, 154-56 (D. Mass. 2017) (“At this point, the plaintififs are entitled to have

their factual allegations, including their interpretation and characterizations ... accepted as

true.”).

Il. Fep.R. Crv.P. 12(b):
According to the unequivocal language of Fed. R. Civ. P. 12(d), if the movant’s 12(b)(6)

motion to dismiss presents “matters outside the pleadings” which are not excluded by the Court,

then said motion “must be treated as one for summary judgment under Rule 56.”

Of course, on a motion to dismiss the Court can consider only facts
alleged in the complaint or documents fairly incorporated therein.

Theophile v. Conklin, 2017 WL 3140363, *4 (D. Mass. 2017) (Denying motion to dismiss
because documents attached thereto asserted facts “not properly before the Court at this early
stage of the proceeding.”), SEE ALSO Higgins v. Town of Concord, 246 F.Supp. 3d 502, 510 (D.
Mass. 2017) (attachment of extraneous documents ordinarily “forbidden” in 12(b)(6) motion to

dismiss).
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Thus when considering a 12(b)(6) motion to dismiss, “a court may not look beyond the
facts alleged in the Complaint, documents incorporated by reference therein and facts susceptible
to judicial notice.” Nasuti v. U.S. Secretary of State John Forbes Kerry, 137 F.Supp. 3d 132,
139 (D. Mass. 2016), CITING Haley v. City of Boston, 657 F.3d 39, 46 Ci? Cre 2071),

III. LOCAL RULE 7.1

Pursuant to Local Rule 7.1(a)(2) of the United States District Court for the District of
Massachusetts, “[n]o motion shall be filed unless counsel certify that they have conferred and
have attempted in good faith to resolve or narrow the issue.

IV. ONLINE ADHESION CONTRACTS: CLICK WRAP; BROWSEWRAP; AND FORUM SELECTION:

Massachusetts’ approach to online adhesion contracts “is consistent with most courts
around the country ...,” Cullinane, et al. v. Uber Technologies, Inc., 2016 WL 3751652. "5 (2:
Mass. 2016), in that such contracts are generally enforceable so long as “they have been
reasonably communicated and accepted and if considering all the circumstances, it is reasonable
to enforce the provision at issue.” Id., quoting Ajemian v. Yahoo!, Inc., 83 Mass.App. 565, 573-
74, 987 N.E.2d 604, 611 (2011).

The basic inquiry as to enforceability boils down to basic contract
theor[ies] of notice and informed assent with respect to the terms
in question.
Cullinane, et al. v. Uber Technologies, Inc., 2016 WL 3751652, *5 (D. Mass. 2016).
A. CLICKWRAP AGREEMENTS ENFORCEABLE
Clickwrap refers to an online adhesion contract in which website users are presented with
the actual text of the terms and conditions before clicking “I agree.” SEE Cullinane, 2016 WL

3751652 (D. Mass. 2016) at *6.

B. BROWSEWRAP AGREEMENTS NOT ENFORCEABLE
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By contrast, “Browsewrap agreements ... are those in which the user does not see the
contract at all but in which the license terms provide that using a website constitutes agreement
to a contract whether the user knows it or not.” Jd. at *5, citing Nguyen v. Barnes & Noble, Inc.,
763 F.3d 1171, 77 (9" Cir. 2014) (Browsewraps are online adhesion contracts in which user is
merely provided with a link to website’s terms of use “tucked away in an obscure corner of the
website where the users are unlikely to see it.”)

Clickwraps differ from browsewraps with respect to their

enforceability under contract principles because by requiring a

physical manifestation of assent, a clickwrap user is said to be put

in inquiry notice of the terms assented to.
Cullinane, 2016 WL 3751652 (D. Mass. 2016) at *6, QUOTING Berkson v. Gogo LLC, 2015 WL
1600755, *28 (E.D.N.Y. 2015) (Internal Quotations Omitted).

The “touchstone” of an enforceable online adhesion contract is “[m]utual manifestation
of assent, whether by written or spoken word or by conduct.” Cullinane, 2016 WL at *7,
quoting Specht v. Netscape Communications Corp., 306 F.3d 17, 29 (24 Cir. 2004).

C. FORUM SELECTION IN ONLINE ADHESION CONTRACTS

To enforce a forum-selection clause in an online adhesion contract/agreement, the
movant “must demonstrate that a valid agreement [to the forum] exists, that the movant is
entitled to invoke the [forum selection] clause, that the other party is bound by that clause, and
that the claim asserted comes within the clause’s scope. Cullinane, et al. v. Uber Technologies,
Inc., 2016 WL 3751652, *4 (D. Mass. 2016), QUOTING Soto-Fonalledas v. Ritz-Carlton San Juan
Hotel Spa & Casino, 640 F.3d 471, 474 (1* Cir. 2011).

The party seeking to enforce the contract has “the burden of
establishing, on undisputed facts, that the provisions of the terms
of service were reasonably communicated and accepted. This

requires reasonably conspicuous notice of the existence of contract
terms and unambiguous manifestation of assent to those terms by
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consumers. The Ajemian court specifically concluded that the
agreement before it was a browsewrap agreement, and that the
notice provided to the user was insufficient to justify enforcement
of the clauses in question.
Cullinane, 2016 WL at 6 (D. Mass. 2016).
ARGUMENT

The modern proliferation of smartphones has forever changed the way consumers access
the internet as well as the way that websites are displayed. This fact is not lost on corporate
“tech giant” Yelp, Inc. SEE Plaintiff's Proposed Second Amended Complaint, CM/ECF Dkt. No.
19-1 (05/14/2018) at 6 Jf 1-3. Thus here, in light of the numerous factual disputes not yet
developed through the normal discovery process, the defendant’s motion to dismiss and special
motion to strike should be denied as premature at this early stage in litigation.

The present matter poses similar questions as those resolved by the Massachusetts
Supreme Court in Jacobson v. Mailboxes, Etc. U.S.A., Inc., 419 Mass. 572 (1995). In Jacobson,
when faced with a scenario in which “[t]he alleged wrongdoing that induced the plaintiff to enter
into the agreement could fairly be seen as involving a controversy in connection with the
agreement,” the Massachusetts Supreme Court concluded that even “California courts would not
... apply the restrictive language of the [forum selection clause] to pre-contract wrongs.”
Jacobson, 419 Mass 572, 578 (1995).

The greater focus of the plaintiff's claims may be on Mailboxes’
misleading conduct that induced the agreement and on other
precontract conduct that is alleged to be unfair or deceptive. If the
plaintiffs show that that is so, the judge should not enforce the
forum selection clause by banishing contract enforcement claims to

California for separate treatment.

Id. at 579.
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Likewise, here, the Court should not enforce the forum selection clause, or any other
provision contained in the alleged adhesion contract, where the same was “obtained by fraud,
duress, the abuse of economic power, or other unconscionable means.” Jd. at footnote 5.

I. THE COURT SHOULD DENY DEFENDANT’S MOTION TO DISMISS BECAUSE THE COMPLAINT SETS
FORTH A PLAUSIBLE BASIS UPON WHICH A REASONABLE FACT FINDER COULD AWARD
PLAINTIFF’S REQUESTED RELIEF.

When considering a 12(b)(6) motion to dismiss, “the court must accept as true all well-
pleaded facts and give the plaintiff the benefit of all reasonable inferences.” Metropolitan, 322
F.R.D. at 154 (D. Mass. 2017), citing Cooperman v. Individual, Inc., 171 F.3d 43, 46 (1* Cir.
1999) (“Ordinarily, a court may not consider any documents that are outside the complaint, or
not expressly incorporated therein, unless the motion is converted into one for summary
judgment.”).

A motion to dismiss must focus not on whether the plaintiff will
ultimately prevail, but whether he is entitled to offer evidence to
support his claims.

De Prins v. Michaeles, et al., 236 F.Supp. 3d 482, 487 (D. Mass. 2017), CITING Mitchell v. Mass
Department of Corrections, 190 F.Supp. 2d 204, 208 (D. Mass. 2002).

Contrary to defendant’s motion to dismiss, Yelp initially categorized the subject negative
review as “Reliable” and “Recommended.” Compare CM/ECF Dkt. No. 13 (05/14/2018) at 4 §
2 (“According to DiNapoli’s complaint, Yelp displayed the review on the Ari Family Dental
review page as one that was “not recommended” by Yelp.”), with CM/ECF Dkt. No. 19-1
(05/28/2018) at 2 § 12 (“Yelp characterized the January 29, 2016 Review as “Reliable” and
“Recommended,” thereby causing the Review to overshadow pre-existing five-star reviews of

plaintiffs dental practice.”).

Il. THE COURT SHOULD STRIKE DEFENDANT’S AFFIDAVITS FROM THE RECORD BECAUSE THEY
CONTAIN FACTUAL ALLEGATIONS EXTRANEOUS TO THE COMPLAINT IN VIOLATION OF FED. R.

Civ. P. 12(D).
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The Court should deny Yelp’s special motion to strike and dismiss because it attempts to
prematurely submit three (3) affidavits containing factual allegations extraneous to the
Complaint. Here, as in Metropolitan, neither party has asked the Court “to convert the
defendant’s motion to dismiss into [a] motion for summary judgment, and it is undisputed that
the motion is governed by the standard set forth in Rule 12(b)(6),” “[n]or is there any dispute that
the exhibits [attached to the motion] have not been incorporated into the [Complaint].” SEE
Metropolitan, 322 F.R.D. at 154 (D. Mass. 2017).

IIL. THE COURT SHOULD ALLOW PLAINTIFF’S MOTION FOR LEAVE TO AMEND THE FIRST
AMENDED COMPLAINT AND DEEM PLAINTIFF’S PROPOSED SECOND AMENDED COMPLAINT
FILED IN LIGHT OF DEFENDANT’S FAILURE TO COMPLY WITH LR 7.1.

Yelp’s D. Mass. LR 7.1(a)(2) Compliance Falls Short of Good Faith. Although Yelp
certifies it complied with D. Mass. LR 7.1, it is questionable that there was any attempt “in good
faith to resolve or narrow the issue.” Yelp Attorney Jeffrey Pyle called plaintiffs undersigned
counsel on April 30, 2018, which was the day Yelp’s answer was due, with a one-way
ultimatum: drop the case or Yelp will move to dismiss. No alternative was possible.

When I refused to dismiss the case and mentioned that I may amend the Complaint,
Attorney Pyle stated he would consider whether it might be appropriate to file its motion to
dismiss thereafter, but a short while later he called back, confirming his earlier position: Drop it
now or Yelp will move to dismiss. Again, I refused, worked on amending the Complaint and
filed it (as it tuned out, about an hour after Yelp filed its Fed. R. Civ. P. 12(b)(6) motion and
affidavits, which were improper, as briefed above).

Notwithstanding the procedural confusion detailed above, plaintiff moves concurrently

for leave to amend the First Amended Complaint. See CM/ECF Dkt. No. 19 (05/28/2018).
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IV. THE COURT SHOULD NOT CONSIDER ANY FACTUAL MATTERS RAISED IN DEFENDANT’S
SPECIAL MOTION TO STRIKE AND DISMISS, BUT IF IT MUST, THE COURT SHOULD ORDER THE
PARTIES’ BROWSEWRAP AGREEMENT UNENFORCEABLE IN ITS ENTIRETY.

According to the unequivocal language of Fed. R. Civ. P. 12(d), if the movant’s 12(b)(6)
motion to dismiss presents “matters outside the pleadings” which are not excluded by the Court,

then said motion “must be treated as one for summary judgment under Rule 56.”

Of course, on a motion to dismiss the Court can consider only facts
alleged in the complaint or documents fairly incorporated therein.

Theophile v. Conklin, 2017 WL 3140363, *4 (D. Mass. 2017) (Denying motion to dismiss
because documents attached thereto asserted facts “not properly before the Court at this early
stage of the proceeding.”).

Similarly, here, Yelp’s motion to dismiss is based on facts which are not properly before
this Court “at this early stage in the proceeding.” Jd. Thus “[a]t this stage, the Plaintiff [is]
entitled to have [his] factual allegations ... accepted as true.” Metropolitan Property and
Casualty Insurance Company, et al. v. Savin Hill Chiropractic, Inc., et al., 322 F.R.D. 151, 154-
56 (D. Mass. 2017). Thus the Court’s finding of “manifest assent” to Yelp’s browsewrap
agreement at this stage would be premature and plaintiff should be given the opportunity to
prove his claims through the normal discovery process — rather than defend against facts
inappropriately included within defendant’s 12(b)(6) motion to dismiss.

WHEREFORE, plaintiff respectfully requests that the Court
I. Deny defendant’s special motion to strike and dismiss;

II. Award plaintiff reasonable attorneys’ fees and costs for defendant’s failure to comply
with Local Rule 7.1 before filing its motion to strike and dismiss on April 30, 2018; and
Il. Direct such further relief as the Court may reasonably deem appropriate under the

circumstances.
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Respectfully submitted,

Plaintiff Arian Dinapoli,

By his attorneys,

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CERTIFICATE OF SERVICE
I, David C. Farrell, counsel for the plaintiff, hereby certify that I served a copy of the
foregoing document upon Jeffrey J. Pyle, counsel for the defendant, via the CM/ECF system, this

28" day of May, 2018.
/s/ David C. Farrell
